ease 2:17-Cv-02716-<:1nnnnnnnsnintenn see 1 Of 30

FOR THE F..ASTERN DIS'I`RICT OF PENNSYI..VANIA - DESlGNATION FORM to be used by counsel to indicate the category of the ease for fha purpose of
assignment lo appropriate calendar.

4927 Wynnefield Avenue, Philadelphia, PA 19131
Address ofPlaintil`l‘.

 

25 DuNorois, Laeolle, QC IJI lJO
Route 291 and Saville Avenue, Chester, PA

Address ol`Dofcndanl:

Place of Accident, lncident or Transaetion:
(Use Re'ver.re .S't'de Fcr Addr'tional Space)

 

/'_'\
Docs this civil action involve a nongovemmental corporate party with any parent corporation and any publicly held corporation ow ' g IO% more of its shock?

 

 

 

 

(Altach twa copies of the Diselosm'e Stnttmlent Form in accordance with ch,R.Civ.P. ')‘. l (a)) Y on
Does this case involve multidistrict litigation possibilities? esL‘l Nom
REL.A TED CASB, IFANY:

Case Number: ' Judge Date 'l`enninated:
`\-_--/'

Civil cases are deemed related when yes is answered to any of the following questions:

l. ls this ease related to property included in an earlier numbered suit pending or within one year previously terminated action in this ecurt?

Yes|:l NON
2. Daes this ease involve the same issue of l`act or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

ch|:l Nom
3. Docs this ease involve the validity or infringement ol`a patent already in suit or any earlier numbered case pending or within one year previously
terminated action in this court? Yes|:l blow

4. ls this case a second or successive habeas comns, social security appenl, or pro se civil rights ease filed by the same individua|?

 

 
  
  
  

 

Yesl:l blum

CIV|L- mm l/ in one cA'rEGORY odom
A. Federal Quesrian Cases: B. Dt`ver.rr'¢y Jrrrt'.rri'r'ctiaa Crr.re.r:

l. El Indemnity Contract, Marine Cunlract, and All Other Conu'aets l. El Insurance Contract and Other Contracts
2. EI FELA 2. Cl Airplane Personsl Injury

3. III .Iones Aet-Personal Injury 3 Assault, Defamation

4. El Antitrust Marine Personal Injury

5. El Pntent otor Vehicle Personal Injury

6. El Lnbor-Management Relations ti. ther Personal Injury (Please specify)
7. tJ Civil Rights 7. roduets Liability

8. El Habees Corpus 8. Procluets Liebility w Asbestos

9. El Securities Aet(s) Cases 9. n All other Diversity Cases

10. El Social SBC‘|.U'ilY R@View Ca$¢$ (Please specify)

ll. El All other Federal Question Cases

(Pleasc specify)

 

ARBITRATION CERTIF]CATION
(Ch ech Appra_ar~i"ate Co'regury)
[, . counsel of record do hereby certit`y:
l:l anuant to Local Civ'il Rule 53.2, Seotion 3(0}(2), that t,o the best of my knowledge and belief, the damages recoverable in this civil action case exceed lhc sum oi`
$ l 50,000.[|'0 exclusive of interest and costs;
Et Reliefother than monetary damages is sought

DATE:

 

 

Attorney-at-Law Anomcy I.D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

l certify that, to my knowledge, the within case is not related to any case now pending or within onc year previously terminated action |n this court
except ns noted above. ' ' " ' `

mi?lnn n. nnl~nnnnn', JR-. ' " '_'_"
DATE: C¢?l fog U l ' _/f r .4. 7434g

Atto;iJW-M_aw Atlomey l.D.lil

mims JU" 16 2017

 

 

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 2 of 30

IN THE UNITED STATES DIS'I`RICT COURT
FOR 'I`HE EASTERN DISTRICT Ol"` PENNSYLVANIA

A EMANA T RACK DESI N TION FORM__

RoNALt) EARP CIVIL ACTION

nsnro vnnsnr tnh'cour ,
BROTHER TRANSPORT § N()

In accordance with the Civil Justice Expcnse and Delay Reduction Plan of this eourt, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing thc complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) ln the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Casc Msnagement Track Dcsignation Form specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWINC CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cascs requesting review of`s decision of the Sccrctary of Health
and Human Serviecs denying plaintiff Social Security Beneiits_ ( )

(c) Arbitration - Cases required to be designated for arbitration wider Loeal Civil Ru|e 53.2. ( )

(d) Asbcstos - Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Spccial Management - Cascs that do not fall into tracks (a) through (d) that arc
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cascs.) ( )
{f) Slartdttrd Mat‘lagcment - Cases that do not fall into any one ol`thc other track s. W
. NILLIAM E. REMPHREY, JR.
é //c // 7 s
Date Attorne -at-law Atrorney for UU renda"f§_
215~922~1100 215'922' 72 wremphrey@margo_risedelstein.com
rfrh:lephone IFAX Numher E-Mail Address

(Clv. 660] ltJIIJZ

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 3 of 30

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CA§E MANA§EMENT 'I`RACK DESIGNATION FQRM

soNALD EARP CIVIL ACTION
annie vassar ANB'couP ,
nao'rana“ TRANSPORT _? NO_

In accordance with the Civil Justice Expense and Delay R.eduction Plan of this court, counsel for
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the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT 'I`RACKS:
(a) Habeas Corpus * Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Serviees denying plaintiff Social Security Benefits. _ ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbcstos - Cases involving claims for personal injury or property damage from
exposure to asbestosl ( )

(e) Specia| Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(D Standard Management - Cases that do not fall into any one of the other tracks W

e é//a//?

writer E. REMPHREY, JR.

 

 

 

""\, .
nat Attorni‘iy?-at-law Attomey for uerenaant§'
215-922-_1100 215”922_ 72 wremphrey@margo]_isedelstein.com
-”i`elephone FAX Number E-Mail Address

(civ. sam 10102

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 F’agel 4 of 30
1544 mov_mvlt) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither r?_plaee nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules ofcourt. T]us form, approved by the Judicial Con enence of Lhe nite¢,l States in September 1974, is requlred for the use of lhe Llerk ofCourt for the
purpose of initiating the civil docket sheel. (sEE imratrcn'onts oNNE,rrPAGE Or-‘ mrs Fr)iw.)

 

I. (a.) PLA_lNTIFFS DEFENDANTS
RONALD EARP MARIO VEREET AND COUP BROTHER.' "TRANSPORT
(b) County of Residence ofFi.rst Listed Plaintiff Phlladel]:_)l'lia _ Counly of`Rcsidence ofFirst Lisled Defendant QLlebB__G. _
(EXCEPT!N U_S. FMNTIFF CASE$ aN U.S_ PMIMTFF CASES ONLU

NO'l`ll: lN LA`ND CONDEMNATION CASES, USE THE LOCATION OF
TI-`l`E TRACT O`F LAND IHVOLVED.

 

 

 

 

 

   
 

 

    

 

    
    

    

(C) Allomeys (F`irm Name, Address, amf Tel'ephone Mrmbsrj Au°m°)"$ (JK"°WN)
Marc Simon, Esquire, 1515 Market Streel, 16th F|oorl Philade|phia, PA Williarn E. Remphrayl Jr.. Esquire, The Curtis Centerl Suite 400E, 170
215-400-2252 s. independence Mntl w. Phitadnlpnia, PA 19106 - 215-922-1100
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(;pm'_,tj») Transfer Direct File

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28 U.S.C. Seetion 1332
VI' CAUSE OF ACTION Brief description ofcause:

motor vehicle accident
VIl. REQUESTED IN \Zl cl-nacK IF THis is A CLAss Ac'rlon DEMAND $ CHECK YES only if demanded in wmplilntr

COM?LA]NT: UNDER RULE 23. F'R-Cv-P- JURY DnMANn= m res :JNn
VIII. RELATED CASE(S)
IF ANY (See mmm"m)" moon noCKET NUMBER
DATE S[GNATUW AT[`C|RN'EY OF RECORD
if 1¢»/!7 ,

FOR OFFICE SE DNLY V

RECE]PT 0 AMOUNT ` APPLYING l[\'l" JUDGE MAG. JUDGE

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 5 of 30

lN THE UN|TED STATES D|STR|CT COURT
FOR THE EASTERN D|STR|CT OF PENNSVLVANH|A

RONALD EARP : ClVlL ACT|ON
' NO.
v.
: (COURT OF COMMON PLEAS
MAR|O VEREET AND COUP : DELAWARE COUNTY
BROTHER \TRANSPORT NO. 2017-002517
JUR¥ TR|AL DEMAND

NOT|CE TO ADVERSE PART|ES OF FlLlNG OF NOT|CE OF REllllOVAL

TO: Office of Judicia| Support Marc Simon, Esquire
Delavvare County Courthouse Simon and Simon
201 West Front Street 1515 Nlarket Street, ‘16“1 F|oor
Media, PA 19063 Phi|ade|phia, PA 19102

PLEASE TAKE NOT|CE that on the 161h day of June, 2017, , Defendants,
Nlario Vereet and Coup Brothers Transport, filed with the Offlce of the C|erk of the U.S.
District Court for the Eastern District of Pennsylvania, a Notice of Removal. A copy of
the Notice is being filed With the Office of Judicia| Support of the Court of Common
Pleas of De|aware County, pursuant to 28 U.S.C. Seetion 1446 (d)

VRGOL|S EDELSTE|N

By:

 

WlLLlAM*’E. REMPHREY, JR., EsoulRE
identification No. 74349

The Curtis Center, Suite 400E

170 S. |ndependenee Nla|| W.
Phi|ade|phia, PA 19106-3337

(215) 931-5878

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 6 of 30

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE EASTERN D|STR|CT OF PENNSYLVAN|A

RONALD EARP : ClVlL ACT|ON
v`.
MAR|O VEREET AND COUP
BROTHER TRANSPORT : NO.
: (COURT OF COMN|ON PLEAS
DELAWARE COUNTY
NO. 2017-002517
JURY TR|AL DEMAND

PET|T|ON FOR RENIOVAL

Defendants, lvlario Vereet and Coup Brother Transport hereby files this Notice
of Remova| and avers the following:

1. P|aintiff, Rona|d Earp, commenced this action by the filing of a Civil
Action Comp|aint on or about l\/larch 13, 2017 in the Court of Common Pleas,
De|aware County captioned No. 2017-002517 ("under|ying aetion"). A Praecipe to
Reinstate Comp|aint Was filed on or about Apri| 26, 2017. A true and correct copy of
the Comp|aint is attached hereto as Exhibit "A”.

2. An Entry of Appearance on behalf of Defendants, Nlario Vereet and
Coup Brother Transport was filed on June 8, 2017. See E)thibit “B" attached hereto.

3. Therefore, the Petitioner herein has filed a timely Notice of Remova|
within thirty days of the date of service pursuant to 28 U.S.C. Seetion 1446(b)when
this action first became removable to Federa| Court.

4. P|aintiff is alleged to reside at 4927 Wynnefie|d Avenue, Apt 2A,
Philade|phia, PA 19131.

5. Defendants, lvlario Vereet and Coup Brothers Transport have an

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 7 of 30

address of 25 Du Norois, Laco||e, QC |J| 1JO.
6. The basis of Petitioners Removal to this Honorab|e Court is diversity of

citizenship for an amount in controversy, excluding interest and costs, in excess of

$75,000.00.28 U.S. C. Seetion 1332 (a)(1).

7. Upon information and belief, it is believed that plaintiff claims damages
in excess of $75,000.00.
8. Plaintiff resides in Pennsy|vania and both defendants reside in Quebec.

9. As such, under 28 U.S.C. Section 1332 (a), total diversity of citizenship
exists.

10. Given plaintiffs claims seeking an amount in controversy of greater
than $75,000.00, this Honorab|e Court possesses jurisdiction over the present
action.

11. Copies of all pleadings and process which have been served in this
action are attached hereto. |n averring so, Petitioner concedes neither the
sufficiency of service of process nor otherwise waives any defenses, whether related
to service of process or otherwise, and reserves all rights in that regard. See Exhibit
“A” and “B" .

12. Pursuant to 28 U.S. C. Seetion 1446(d), a copy of this Notice of
Remova| is being filed with the Court of Common P|eas of De|aware County and is
being served on all adverse parties

WHEREFORE, Petitioners, N|ario Vereet and Coup Brother Transport,
respectfully request that this civil action be removed from the Court of Common

P|eas of De|aware County to thel United States District Court for the Eastern District

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 8 of 30

of Pennsy|vania.

BY:

Respectfu||y submittedl

MARGOL|S EDELSTE|N

 

W|LL|AM E. REN|PHRE‘(, JR., ESQU|RE
identification No. 74349

The Curtis Center, Suite 400E

170 S. |ndependence Nla|| West
Phi|ade|phia, PA 19106-3337

Attorney for Defendants

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 9 of 30

CERT|F|CAT|ON OF SERV|CE

| hereby certify that on the date shown below, a true and correct copy of the
foregoing Notice of Remova| and supporting documents was served via U.S. First
C|ass Nlai|, postage prepaid upon the following:

Marc Simon, Esquire

Simon and Simon, P.C.

1515 |Vlarket Street, 16th F|oor
Philadelphia, PA 19102

MARGOL|S'EDELSTEIN

/
BY: JL//_"'
W|LL|AM E. REMPHREY, JR., ESQU|RE
Attorney for Defendants Mario Vereet and
Coup Brother-1 Transport

June 16, 2017

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 10 of 30

EXH|B|T “A”

- Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 11 of 30

U.S. Dopartrrrr.~nt of .luslice
Unilcl:| Sirrtcs Mar'sim|s Service

'lr.

 

 

 

REQUE'ST
FOR SERV|CE ABROAD O'F JUD|C|AL OR EXTRAJUD|.C|AL DOCUMENTS

DEMANDE -
AUX Fi'NS DE SiGNiFiCA TiON OU DE NOTiFiCA TiON A L'E TRANGER
D'UN ACTE JUD!C!AIRE OU EXTRAJUDIC!AIRE

`=, § Conventiorr on the service abroad of judicial and extrajudicial documents in civil or

    
   
 

_ . _ commercial mattere, signed at The Hague, Novembor 15. 1965. _
k -" HJQ _, Convention relative a ia signidcation el a la notification a i'etrenger des aclesjudiciaires ou
§ "-., 91 03 fog § extrejudicieires en metiare cr'viie orr commamieia_ signals a i_a Haye, le 15 novembre 1955

 

 

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%q’?c'//SS}EH'§§IY§ §§ _ t
1191/1111 El %§Land address of the applicant Address et receiving authority
‘\(_-‘, iF\ l 'ié et adresse du requerani Adresse de i'aulorilé desiinetaire
9 ii l t -'“"°wa
-'"°" MlNlSTERE DE LA JUST|CE Dl;i QUl‘-_'BEC
Merc i. Simon, PC Direction des services professionne|s
1515 Merket Streel. Suite 1600 Enlraide internationale
Phiiedeiphla. PA 19102 1200, Route de i'i';'g;ise. 2e stage
Québec (Ouébec]
lauramorson@gosimon.con‘r GiV 11th

 

 

 

 

The undersigned applicant has the honour to transmit - in duplicate- the documents listed below and, in conformity

with article 5 cf the above-mentioned Convention, requests prompt service of one copy thereof on the addressee, i.e.,
(identlty and address|

i_e requerani scussignee a i'hcnneur de faire parvenir--en double exempiaire-e i’auloriie destinaiaire ies documents ci-dessous

enumeres, en ia priani, conformemeni a i'ertic)e 5 de le Convention preciiée, d'en !eire remerrre sans retard un exempiaire au

destinetaire. a sevoir.'

resume et admsss) quo_,'z '>r?f<g

Coup Brother Transport
25 Du Norois, Laccriiel QC JOJ 1J0“i

§_Zi (s) in accordance with the. provisions of sub-paragraph (a) .oi the first paragraph of article 5 of the Convention.*
e) Seion ies formes iegeies farticie 5 aiinea premier, leier e,i,

[`_] (b) in accordance with the,to|iowing_ particular method taub-paragraph (b) of the iirst paragraph of article 5)*:
b) seton ia forma penicuii`ere suivenie remote 5, salinas premiar, retire b} :

 

 

[`_`| {c) by delivery to the addressee, ii he accepts il voluntarily (second paragraph of article 5}*;
ct le cas eciréenl, par remiss simple (arricie 5, arinéa 2).

The authority le requested to return or to have returned to the applicant a copy of the documents and of the annexes
with a certificate as provided on the reverse slde.

Cerre outorit{i esi pride-de renvoyer on de faire renvoyer au rsqrrérant un exempiaire de i'aete - et de ses annexes - avco
i'eiiesleiion iigurent au verso.

LLQLQf;mMQm§ Done at May 4 . the 2017
ELumérsilprLQse§s/H Faif d , le

Civil Compiaint
Request for Documents
Mi`\;t=.‘que.~;tmt_i:_)r Admisslcns

interrogatories ` d / w_

’Deiete ii.inepproprlate Form USM-s-t
Flayec las mentions inuriios, E.st. 11177
[Formeriy 080-115, which was formerly LAA-115. both of which may still be trseol

 

 

Signalure andi la p
Signelure ei/o a el

 

 

 

 

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 12 of 30

suuuAnY or= THE Document To ss sERvso
ELEMENTS EssENTiELs DE L'ACTE

Convention on the service abroad of judicial and extrajudicial documents ln civil or commercial
matters, signed at The Hague, Novomber 1-5, 1966.

Ccnvention relative a ia sigriiiicaiion et a ia notification a i'eiranger des acres judicieires ou extia_iudicieires

en matters oiviie ou comnrerciaie, signee a i_a Heye, le 15 novemer 1965

{article 5, fourth paragraph}
(articie 5, aiinéa quaire)

Narrre and address of the requesting authority:
Norn el edresse de i'euloriie requerante:

Nisrc l. Simon, PC 1515 Market Sl. Suite 1600, Phiiadeiphia, PA 19102

Particu|ars of the parties:
ideniiié des panies:

Rona|d Earp v. Niario Vereet . el ai.

JUDICIAL DOCUMENT
ACTE JUDi'Ci‘A iRE

Nature and purpose or the document:
Neiure el chief de i'acte:

Civil Compiaint

Natura and purpose of the proceedings and. where appropriate, the amount in dispute:
Nelure et objei‘ de i'inslence, le cas éi:iiéeni, le moment du iiiige:

Motor Vehicle Accicieni that occurred on December 12. 2016

Date and place for entering appearance
Daie el`iien de ia comparulion:

Filed in De|aware County Couri. Merch 13. 201ir

Court- which has given judgrneni;"‘.
Juridrolion qui a rendu le decision:

NiA

Dale of judgment“:
Deie de ia decision:

NiA

Tlrne limits stated in the document*‘:
indication des déiais iiguient doris i'acie:
20 days stated

 

EXTRAJUDIC|AL DOCUMENT
AC TE EXTRAJUDiCiA iF\'E

Nature and purpose of the document
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`i'ima limits stated in the document:*‘
indication des déiais iignrani dana i'ncie_-

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Case 2:17-cv-02716-GEKP Documentl Filed 06/16/17

Marc l. 5imen, Esquire"

Mti:'l'iel.le Skalskii.r-&ilmon, Esquire (Rel:i.red)

joshuaA. Rosen, Esquire
Mirl.the\v .,er.r'n.ltes E uire
Mdra\t' ii.n Wai squire"'
Bx!rm `F. George, o ul.r:ie+
druc]\nel K. Simon, sinatra
Maz'v G. McCartlw, Esquiie
Herry Gosnom', Esquire
ns'huaD. Baer,' Esquire

ames T. Siinm"iiut, Esquire
Anchew Baros\, Esquire
Raymon.d Tnmowslr.t, Esquire

 

 

 

SI.MON & SlMON, PC

lN]URY LAW'YERS ---~-

Please send all correspondence to'_

1515 'Market Street | Suite 1600
Ph.tladcluhla, PA 19102

Tei: (215) issuance i rim gen 639-sons

"`Llcensed'to practice in Perms'irji\'arda and New jersey
411de to practice m Pcmwy']ver:rla and Macsachusetl:s
“l. icensed impractical ir\ Fenneulvorria, Now ja mem and vaYoxk

Page 13 of 30

Dry an An\er, U:iquire:
A.llsha A. Nl.d‘iolsi, Esquire:
Jv$mph L. Colcr.nal'i, Esquire:
illtemM. thodes Esquire°'
'Mid'iael Sch]a
Alexonder H|;']d er, Esquire°'
]esca n G um, Esquire
y Oakav Esquire
A'l'ir:ra Hm'rsm,, Esquire
`Dz\rla Kosctel.ir\ial»:, F.squ.i.r\l';r
Grad Lowom‘i., Esquire
]a.sorrwhallev, Esquire*
Ryim Flahertv. qu'i.il'r¢
Fablatmn Pergollzzl, Esquire

mmcamon@gcslmcr\.com

w \v\\“.go$l.rnan.r:om

 

Via Mail

Mario Vereet

25 Du Norois
I_.acolle, QC JUJ 110

Api'il 19, 201?

RE: Lawsuit Filed Against You

Dear S`ii'i'Madam:

Please find enclosed a Complaint and Discovery Requ'ests. Plcase turn this matter over to

your insurance can~icr.

Very truly yours,

SIM SIMON, l’C

M C I. SIMON

 

NEW ]E.RSEY 1401 i\'[arket Str:eet l `PO Bo>c 807 | Camden, N] 0310`1 l'[`i:l; (656) 1157-6393
FlT'.l'SBURGl-l i500 Grarii Si:teet l Suite 2900 i'Piii'sburgh, PA 15219 |Tel: (412) 360-?257
E,RIE t 1001 5lale Sir:ee,t l Suite 1400 | `Ertr.-, I’A 10501 i Tel: (314J 2406190
BDSTGN i 100.Cambrldge Strcet l Suite 1400 | Bosion, MA 02'105 l 'I`cl: (55?] 233-0559

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 14 of 30

De|aware County Courthouse
201 We:sl Frm\l Street
Media. PA 19083

Rocs|pt Dato : 4126!2017

 

Official Receipt

Rec'.olpt #: 221603

Receipt of: MARC | SlMON ESQ Cashler: 10008?5

Addrass : 1515 N|ARKET STREET SU|TE 1600 Register: Hal|R
PHILADELPH|A PA 19102

Remarks :

Payrnant Source: Wa|k ln

Account of: RONALD EARP

 

COST RECEIVABLE DESCRIPT!ON AMOUNT

ParlyName EARP, __R__Q_N_ALD _ ' ' - - \` '. l` -_ ___-'_' '_ ';‘_;-_-. ' ` _
case Nnmv'_¢;.»_r'. 2017-umw 'rype. momrvehr¢m RoNAl__c_)-EARP'ys.'_mnr{:p,'qui§ET',`;;_c)uP women

 

TRAN_S_F_'O_RT ` "

 

 

 

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Sl.lb Tota| : $10.00
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Grand To|al : $10.00
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Attorney!Flrm 8713 $10.00
Check
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Amount Paid : $10.00
Over Paymenf : $0.00
Change Duo : $0.00
MEMORANDA
Balance Afler Payment:
Case Numbor Baiance

 

 

 

 

Total Ba|ance: $

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Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 15 of 30

SIMON &.SIMON, P.C.

Marc I. Simon, Esquire
Michclle Skalsky~Simon, Esquire (Rctiied)
Joshua.A. Rosen, Esquire
Mattbew .J. Zamites, Esquire
Artdrew Van Wagne.r, Esquire
Bl'ian F. Gcorge, Esquire
Andrew Baron, Esquire
Raymond_"l`arnowski, Esquiu:
Miohael K. Simon,_ Esquire
Bran Arnor, Esquire

Alisho A. Nicho|s, Esquire
Mary G. Mch'thy, Esquire
Miolmel Sch|agnhattfer, Esquito
Attornoy I.D. No.

Alexunder C. |~Iyder. Esquire
Ja_mcs 'I`. Stinsmmi, Esquire
]`-larry Gosnear, Esquire
Joshua_ D. Bacr, Esquire
William M. Rhodes, Esquire
Jessalyn Giilum, Esquire
Ashley Oakey, Esquire

Tara I»Iansen, Esquire

Gl“t_idy Lowman, Esquire
.I'asen Wholley, Esquire
Ryan F}aherty, Esquire
Attomeys for Plaintiff(s)

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Mnt‘lcet Str-Eet,- Suite |600
Philadelphia, PA 19_`|02-
(2 l 5) 476-4666

 

lI-*'J. .

 

 

11a-mtd ramp couRT oF common mens _
DELA'WARE coUNTY §
.‘ h
Pla:minv : No.: 201 7-002517 §
vs. : ¢\3 -.=.,. _
m | "
Ma'rio `Veieet,.'et‘ al. § §
Defel'tdiln’tg ¢\‘,
ha

P 1CIPE ' 0 R ' 'l` TE CO PLAINT
TO THE PROTHONOTARY:

Kindly reinstate the Comp|aint which is attached hereto, in regard to the above-captioned
mattel'.

Respectf l submitted,

   

ls
M c l. Simon, Esquire

   

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 16 of 30

SIMON & SIMON, P.C.

BY: Marc I. Sirnon, Esquire
Josliua A. Rosen, Esquire
Matthew J. Zomitas, Esquire
Andrcw J. Van Wagner, Esquire
Brion F. Gcorge, Esquire
Andmw Baron, Esquire
Raymond Tm'nowski, Esqtliie
Grady I..owman, Esquire
Ashley Oakey, Esquire
larson Wliallcy, Esquire
-Joshua Baer, Esquire
Michael K. Simon, Esquire

Attomey lD No.’s:

201 798

1515 Mark¢c screen 16"' mer
Philadclphin, PA l9102
(215-400-2251 )

THIS lS NOT-AN ARB}TRATION COMPI..A|NT
AN ASSF.,SSMENT OF DAMA GES I‘IEARING
lS REQUIRED

Bryan Arner, Esquire

A!isha A. Nichols, Esquire
Mary G. McCarthy, Esquire
loscph L. Colcmnn, Esquire
Willinm Rhoades, Esquim
Michae| Schiagnhauf`er,_ Esquire
Alexander C. Hyder, Esquire
.|amos T. Srinsman, Esquire
Daria Koscielniak, Esquire
Harry Gosne_nt', l?.squine
Jessa|yn Gil|um, Esquire

Arrornqv.rfor P!rn'nrr]_'f

 

Ronuld Eai'p

4927 Wynnefie|d Avenue

Apt ZA

Philadl?.lphin, |’A |9131

Plailltiff`

v.

Mario Vereet

25 Du Norois

Laco||e, QC JOJ IJO

}N THE COUR'I` OF COMMON PLEAS
DEL.AWARE COUNTY

Fehruary Term, 2017

Ancl

Coup Bml'her Tmnsport
25 Dtl Norois
Lnoolle, QC 101 110

Defcnclanls

No_ (_;`Q§, y C, OCQ§`/ 7

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 17 of 30

NOTICE

YOU SHOULD 'I`A KE THIS PAPER TO YOUR I..AWYER A'l` ONCE. IF YOU DO NOT
I-IAVE A LAWYER OR CANNOT AFFORD ONE, GO ']`O OR TELEPHONE THE OFF1CE SET
FORTH BELOW 'l`O FlND OUT WHERE YOU CAN GET LEGAL l-IEL.P.

LAWYER REFERENCE AND INFORMATI`ON SERV[CE
Front and Lemon Stl‘eets
Medill, I’A 19063
215-566»6625

 

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 18 of 30

SC>/')~ 00 .S?L§`/ 7

_/_; ,
c >LAIN'-r "":'-:_.-_J ' {t_
l. Piaintit‘t, Ronald E.nrp,` ls n resident oi` th_e Co'mmonwcalth of Pennsyfvaule' -residinh':o or -l x ":
at the address |isted' m the caption of this Complaint. n k :‘ ;'.:j.: rf"f-c%]

2. Upon infolmtttion and bclict",_ Dei`endctnl, Mario Vereet is a ncsidcnt ofthc Provlucé
of Qucbec, Canada, residing at the addless listed' 111 the caption of this Comp|aint.

3. Dct`endant, Coup Brothch Transport, is a business entity registered to do business in
the Province oi"Qucbcc, Canacla, with a business address listed in the caption of this Complaint.

43 Upon infonnation and bclict`, Defendants regularly and systematicaliy transact

business in Phiiadc|phia County so as to be subject to venue and in personam jurisdiction in

Phi|adclphia.
5. 011 or about Dccember 12,.2016, at approximately 3:00 p.m., Pleintift`, was the

operator of a motor veliicte, which Was traveling at or near the intetsection of Route 291 and Savillc

Avenue, in Chcster, PA.

6. At or about the same date and time, Dcfendnnt, Mario Vereet, was the operator ceta
motor vehiclc, which was owned by Defendant, Coup Brother Transport, which was traveling al or
near the afolesaid intersection and)'or location of PlaintiFPs vehicles

7. At about the same date and timc, Defcndant's vehicle was involved in a motor

vehicle collision with Plainti‘t`t"s vehic|e.

S. At n|| times relevant hereto upon information and bc|ict", Dcfcndant, Mg;l:lo Veiec§'::;

 

dot`el]dant' -s agent, servant andfor employee acting in the scope of their agency

{:]\..'_

ii itt 93 now
`1

9. The afmesaid motor vehicle collision was caused by the Defcndnnt negligently

:J _-

andfor catelessly, operating his vehicle 111 such a ntannci so as to cause a motor vehicle collisioth

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 19 of 30

10. As a direct and proximate result of thejoint andlor several a11d1'o1'dire1:tor vicarious
negligence and!or carelessness ol` the Det`endants, P|aintiff has sustained serious permanent personal
injuries and damages

l l. As a result oi` the incident, Plai11tiFf suffered severe and permanent injuries as set

l`orth more fully below.

QOQNI I

Ronald Ea rp v. Mario Vereet
Neg|igcneo

l2. Plaintil`f incorporates the foregoing paragraphs ol` this Complaint as it fully set forth
at length herein.

|3. The negligence and}or carelessness of Dcl"endant, which was the direct and
proximate cause ol" the incident and the injuries and damages sustained by the Plaintiff consists of,
but is not limited to:

a. Operating his vehicle into I’|aintii`t‘s lane of travel;

b. l'»`ailing to maintain proper distance between vehicles;

c. Operat'ing said vehicle without regard for the rights or safety oFl’laintiffor
othcrs;

d. Failing lo have said vehicle under proper and adequate control;

e. Operating said vehicle ata dangerous and excessive rate of speed under thc
circumstances;

l`. Violation of the assured clear distance rule;

g. Failure to keep a proper lookout;

h. Failurc to apply brakes earlier to stop the vehicle without causing a motor
vehicle collision;

i. Being inattentive to his duties as an operator of a motor vehicle;

 

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 20 of 30

f`l'l.

Lli

Disregarding traffic lanes, patterns, and other devices;

Driving ata high rate oi`speed which was high and dangerous for conditions ;
Failing to remain continually alert while operating said vehicle',

Fal'iing to perceive the highly apparent danger to others which the actions
andfor inactions posed ;

Failing to give Plainlift` meaningful warning signs conceming the impending
collision;

Failing to exercise ordinary care to avoid a collision;

l'~`ailing to be highly vigilant and maintain sufticient control ot` said vehicle
and to bring it to a stop on the shonest possible noticc;

Operating said vehicle with disregard i"or the rights of Plaintiti', even though
she was aware or should have been aware ol"lhe presence oFPlaintiff and the
threat of harm posed to Plaintil'i-';

Continuing to operate the vehicle in a direction towards the P|aintiff‘s vehicle
when he!she saw, or in the exercise of reasonable diligencc, should have
seon, that further operation in that direction would result in a collision;
Driving too fast lor conditions;

Violating the Pennsylvania Vehiclc Code;

Failing to operate said vehicle in compliance with the applicable laws and
ordinances of" the Commonwealth oi` Pennsylvania, pertaining to the

operation and control of motor vehicles

|4. As a direct result oi` the negligent and!or careless, conduct of Defendanr, Plaintifl’

suffered various serious and permanent personal injuries, serious impairment oi bodily Funetion.

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 21 of 30

permanent serious distigurement, and;'or aggravation of certain injuries, all to Ptaintifl`s great loss
and detriment.

|5. As a result of these injuries, all ofwhieh are permanent in nature and all ofwhieh are
to Plaintil`l`s’ great financial detriment and loss, Plainriff has in the pasr, is presentty, and may in the
future suffer great pain, anguish, sickness and agony and will continue to suffer foran indefinite
time into the filture.

|6. As an additional result of the carelessness auditor negligence of Defendant, Plaintil`f
has suffered emotional injuries along with the physical injuries sufferedl

l?. As a direct result of the negligent andlor careless conduct of the Det`em|ant, P|aintiff
suffered dunnage to Plaintiff’s personal property, including a motor vehicle, which Plaintiff was
operating at the time ofthe aforesaid motor vehicle coltision; including but not limited to, storage
fees and towing, all to P|aintiff`s great loss and detrin'tentl

18. As a further result of the injuries.sustained, plaintiffs havel are presently, and may in
the future undergo a great loss ofcurnings and/or earning capacity, all to l’|aintiff`& further loss and
detriment-

ISI. Furthermore, in addition to all the injuries and losses suffered by Plaintifl", Plainliff
has also incurred or will incur medical, rehabilitative and other related expenses in an amount equal
to and)‘or in excess ofthe basic personal injury protection benefits required by the Pennsy|vania
Vehicle Financial Responsibility L,aw, 75 l’a.C.S. Seetion 170|, t_:t_§£q_, as amen<led, for which he
makes a claim for payment in the present action.

Wl-IEREFORIE, Plaintit"f demands judgment in P|aintift"s favor and against Defendant, i,n an

amount in excess of Fil'iy 'l`housand ($50.000.00) Dollars, plus all costs and other relieFthis court

deems necessary.

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 22 ot 30

COUNT II
Ronalcl Earp v. Coup Brothers Transport
Negligont Entrua tment

 

20. P|aintiff incorporates the foregoing paragraphs of this Conrplaint as if set forth fully
al length herein.

211 The negligence and/or carelessness ol` Defendant, Coup Brothers 'l`ransport, which
was a proximate cause of` the aforesaid motor vehicle collision and the resultant injuries and
damages sustained by the Plaintiff, consists o{", but is not limited to, thc following:

a. Permitting Defcndant, Mario Vereet, to operate the motor vehicle without
Frrst ascertaining whether or not hefshe was capable of properly operating
said vehicle;

b. Permitting Mario Vereet, to operate the motor vehicle when Defendant', Coup
Brothers Transport, knew, or in the exercise of due care and diligence, should
have known that Def`endant, Mario Vereet, was capable of committing the
acts of negligence set forth above;

c. Fai|ing to warn those persons, including the Plaintiff, that |Jefendant, Coup
Brother-s Transport, knew, or in the existence ol"due care and diligence
should have ltltown, that the Plaint'ifl would be exposed to Mario Vereet's
negligent operation ol" the motor vehic|e.

22. As a direct result of the negligent and!or. careless conduct of Defendant, the Plaintifl`
suffered various serious and permanent personal injuries, serious impairment of bodily l`unclion,
permanent serious disfigurement, aggravation of certain injuries andfor other ills and injuries all to
P|aintifl"s great loss and detrimentl

23- As a result of these injurics, all of which are permanent in nature and all of which are

to Plaintii`f`s great financial detriment and |oss, Plaiirtiff has in the past, is presently and may in the

Case 2'17-cv-O2716-GEKP Document 1 Filed 06/16/17 Page 23 of 30

Future suffer great anguish, sickness and agony and will continue to snl’l'cr i`or an indefinite tinlc into

tl'lc l`rlturc.

24. As an additional result of the carelessness and!or negligence oi` Dei`endant, Plainlil"l`

has suffered emotional injuries, along with the physical injuries suffered

25.

As a direct result of the negligent conduct ol" the Defendant, Plaintit`f` suffered

damage to his!her personal property, including |risfher motor vehicle, which Piaintii"`f was operating

at the time of the aforesaid motor vehicle collision; including but not limited to, storage i`ces and

towing, all to Plaintif`r"s great loss and detrimentl

26. As a further result of P|eintit`l“s injuries, she has in the past, is presently and may in

the future undergo a great loss ol" earnings andr'or earning capacity, all to P|aintiff’ s l`urther loss and

detriment

27. Furthermore, in addition to all the injuries and losses suii`ered by P|aintitl`, PlaintilT

has also incurred or will incur medical, rehabilitative and other related expenses in an amount equal

to and!_or in excess ofthe basic personal injury protection benefits required by the Pennsy|vania

Vehicle Financial Responsibility Law, 75 Pa.C.S. Seetion l?t]l , e_t: _S,AL, as amended, l`or which she

makes a claim for payment in the present action.

WHEREFORE, Plaintii’i` prays for-judgment in Plaintii"i"s Favor and against Del'endant, in an

amount in excess of`Fif`ty 'l`housand ($50,000.00) Dollars, pitts all costs and other relief this court

deems necessary

COUNT ILI

Ronnld Earp v. Coup Brother Transport
Responrlcat Superior

28. Plaintift` incorporates the foregoing paragraphs oF this Complainl as if fully set forth

ul' longlh herein

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 24 of 30

29. The negligence arrdfor carelessness of Defendant, itself and through its agent, the

driver of tire motor vehicte, acting at nll times relevant hereto within the scope of the agency, which

was the direct and proximate cause of ' she incident and the injuries and damages sustained by tire

plaintiff consist of, but is not limited to:

El..

b.

h.

Operating his vehicle into Piaintift"s lane oftravel;

Fai|ing to maintain proper distance between vehicles;

Operating said vehicle without regard for the rights or safety ol"Piainlili"or
others;

Failing to have said vehicle under proper and adequate control;

Operating said vehicle at a dangerous and excessive rate of speed under the
circumstances;

Violation of`lhe assured clear distance rule;

Fai|urc to keep a proper lookout;

l"ailure to apply brakes earlier to stop l|rc vehicle without causing a motor
vehicle collision;

Being inattentive to his duties as an operator ol" a motor vehicle;
Disnegarding traffic lanes, patterns, and other devices;

Driving al a high rate of speed which was high and dangerous for conditions;

liailing to remain continually alert while operating said vehicle;

. Failing to perceive the highly apparent danger to others which the actions

andfor' inactions poset|;
Failing lo give Plaintilt meaningful warning signs concerning thc impending

collision;'

Case 2'17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 25 of 30

o. Failing to be highly vigilant and maintain sufficient control of said vehicle
and to bring- it to a stop o_u the shortest possible notice;

p. Operating said vehicle with disregard for the rights of Plaint-il`f, even lhottgh
he was aware or should have been aware of the presence of Pirrintiffarrd tire
threat of harm posed to him ;

q. Continuing to operate the vehicle in a direction towards the Plaintifi’s arrd!or
co-defendants’ vehicle when he saw, or in the exercise of reasonable
diligence should have seen, that further operation in that direction would
result in a collision;

r. Driving too fast for conditions;

s. F:riting to operate said vehicle in compliance with the applicable laws and
ordinances of the Commonwcalth of Pcnrrsylvania, pertaining to the
operation and control ofmotor vehicles;

30. As a direct result of the negligent andr'or careless, conduct ol` Dcl"cndant_ P|aintiff
suffered various serious and permanent personal injuries, serious im pairment of bodily furrction,
permanent serious disfigurement and!or aggravation of certain injuries, all to Plaintifi"s great loss
and detrimentl

31. As a result of these injuries, all of which are permanent in nature and ali of which are
to Plaintii'fs‘ great financial detriment and loss, Plairrtii`l' has in the pastl is presently. and may in the
future suffer great pain, angrris|r, sickness and agony and will continue to stri‘l`er for an indefinite
time into the future

32. ns an additional result of the carelessness artd!or negligence of Dafendant, Piaintit’t`

has suffered emotional injuries along with the physical injuries sutter-ed

 

Case 2:17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 26 of 30

33. .‘\s a direct result of the negligent and/or careless conduct of the Defendang P|ainliff
suffered damage to Plalntit"f`s personal property, including a motor vehicle, which Plaintitt` was
operating at the time of the aforesaid motor vehicle collision; including but not limited lo, storage
fees and towing, all to Plaintiff’s great loss and detriment

34. As a further result of the injuries sustained, Plaintiff has= is presently, and may in the
future undergo a great loss of earnings and/or earning capacity, all to Plaintilt’s further loss and

detri me nt.

35. Furthermore, in addition to all the injuries and losses suffered by Plaintiff_ P|einliff

¢has also incurred or will incur medical, rehabilitative and other related expenses in an amount equal

lto andfor in excess of the basic personal injury protection benefits required by the Pennsylvania
Vehicle Financial Responsibility Law, 75 Pa.C-S. Seetion l?t]l, e_t_. §e£._, as amended, for which he
makes a claim for payment in the present action.
l WI-IEREFORE, Plainliff demands judgment in Plaintiff’s favor and against Defendant, in an
amount in excess of Fitty Thousand ($50,000-00) Dollals, plus all costs and other relief this court
deems neeessary.

SIMON & SlMON, P.C.

BY:

 

Marc l. Simon, Esquire
Simou & Simon, P.C.
l5| 5 Market Stneet
Suite |600
Philadelphia‘ PA 19 l 02
215»467-4666
A.'rorneyfor le‘nrr_'li”

` O
Case 2'17-cv-02716-GEKP Document 1 Fl|ed 06/16/17 Page 27 of 3

V!;' B l FICA TIO N

I, Mare Simon, hereby state that l am attorney for the P|aintif'l" in the within action `and that

the facts set forth in this Civil Action Complaint above are true and correct to' the best of my

knowledge, information and belief

l understand that the statements in this Verifrcation are made subject to the penalties of IB

U.S.C.A. § lOtJl relating to unsworn falsification to authoritiesl

/_,/7

Marc l. Simon

 

as

mw
l', am llru plaintiff in llrls aetion, end I hereby stan that the liters set
*_'-’-'__‘_-”¢_\,_`H__\__-.

rorrh in the foregoing Complaint arc true end correct lo the best choy l:rn:nvlcdgel information,
and heliol`. I understand that tlrls verification is subject to |SPa. l‘_‘.S. § 4904 providing for

criminal penalties for urrs\vom falsification to aotlrcrillos.

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Case 2:‘17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 29 of 30

EXH|B|T “B”

Case 2'17-cv-02716-GEKP Document 1 Filed 06/16/17 Page 30 of 30

Wi|liam E Fi'emphrey. Jr_. Esquire
wremphrey@margo|isedelstein.com
Identificafion No.; 74349

MARGOL|S EDELSTE|N

The Curtis Center, Founh Floor
|ndependence Square Wesl

Philadefphia_ PA 19106-3304
(215) 922-1100

v.
MAR|O VEREET AND COUP BROTHERS

TRANSPORT

A{fomp.y for Def€-Jndon!$

COURIF OF COMMON PL[:'AS
DELAWAF€E. COUNTY

NO 2[317-00251.7

ENTR¥ OF APPEARANCE AND JURY TR|AL DENIAND

TO THE PRGTHONOT AFZY.'

Please emer our appearance on behalf of Dofendar'ns M¢i=.o Ve¢eel and Cour:.-

Brothers Transport in ihe above captioned case

Def@ndanls_ Mario Vereet and Coup Brothers Transport demand a jury lr:ar m the

above case Jury of twefve (12} with alternates demanded

MARGOLIS EDELSTE!N

BY.

WlLLIKr£Li` E`

Ri-'_-"MPH`R£-;Y, Jn_ §§oulnr;;

